                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION

UNITED STATES OF AMERICA                              )
                                                      )
               v.                                     )       CASE NO. 3:04CR36-01
                                                      )       (Financial Litigation Unit)
JOSEPH ERNEST FINATERI,                               )
                                                      )
and                                                   )
                                                      )
LELAND ENERGY, INC.,                                  )
                Garnishee.                            )

                        ORDER OF CONTINUING GARNISHMENT

        THIS MATTER is before the Court on the Answer of Leland Energy, Inc., as Garnishee.

On September 5, 2007, the Honorable Richard L. Voorhees sentenced Defendant to twenty-three

months imprisonment on his conviction for Conspiracy to Defraud the United States in violation of

18 U.S.C. §§ 371, 1341 and 1344. Judgment in the criminal case was filed on September 26, 2007

(Docket No. 89). As part of that Judgment, Defendant was ordered to pay an assessment of $100

and restitution of $14,038,382.30 to the victims of the crimes. Id.

        On June 13, 2012, the Court entered a Writ of Continuing Garnishment ("Writ") (Docket No.

116) to Garnishee, Leland Energy, Inc. ("Garnishee"). The United States is entitled to a wage

garnishment of up to twenty-five per cent of net income and has satisfied the prerequisites set forth

in 15 U.S.C. § 1673. Defendant was served with the Writ on June 16, 2012. Garnishee was served

with the Writ on June 18, 2012. Garnishee filed an Answer on July 20, 2012 (Docket No. 120)

stating that at the time of the service of the Writ, Garnishee had in their custody, control or

possession property or funds owned by Defendant, including non-exempt, disposable earnings.

        IT IS THEREFORE ORDERED that an Order of Continuing Garnishment is hereby

ENTERED in the amount of $14,021,322.79 computed through June 12, 2012. Garnishee will pay




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the United States twenty-five per cent of Defendant's net earnings which remain after all

deductions required by law have been withheld, and one hundred per cent of all 1099 payments,

and Garnishee will continue said payments until the debt to the Plaintiff is paid in full, or until

Garnishee no longer has custody, possession or control of any property belonging to Defendant, or

until further order of this Court.

        Payments should be made payable to the United States Clerk of Court and mailed to the

Clerk of the United States District Court, 401 West Trade Street, Charlotte, North Carolina 28202.

In order to ensure that each payment is credited properly, the following should be included on each

check: court number DNCW3:04CR36-01.

        Plaintiff will submit this debt to the Treasury for inclusion in the Treasury Offset Program.

Under this program any federal payment Defendant would normally receive may be offset and

applied to this debt.

        SO ORDERED.                              Signed: August 13, 2012




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